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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           MIAMI DIVISION

                                 Case No. 07-20444-CR-MARTINEZ

  UNITED STATES OF AMERICA

         v.

  ROLANDO MORALEDA
                                     /

                              DEFENDANT’S OBJECTION
                      TO THE PRE-SENTENCE INVESTIGATION REPORT
                                      AND
                        MOTION FOR MINOR ROLE REDUCTION

         The defendant, through the undersigned counsel, respectfully submits the following objection

  to the Pre-Sentence Investigation Report and motion for minor role reductions. Mr. Moraleda’s role

  was minor and, as such, his calculation should include a two level reduction for minor role.

                                         MINOR ROLE §3B1.2.

         The Sentencing Guidelines provide that a defendant’s offense level should be decreased

  based upon a defendant’s mitigating role in the offense. U.S.S.G. §3B1.2.

         §3B1.2.(b) of the Sentencing Guidelines provides, “[i]f the defendant was a minor participant

  in any criminal activity, decrease by 2 levels.

         Mr. Moraleda’s role was minor compared to that of others involved in the charged criminal

  activities. The overall scheme involved a conspiracy to defraud the United States government’s




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  Medicare services of monies intended to provide heath benefits.1 The conspiracy involved the

  incorporation of a company, 1st Medical Supply, Inc., by Mr. Esnardo Cabrera Hernandez. Mr.

  Hernandez had false claims submitted to Medicare. This resulted in Medicare payments totaling

  approximately $456,206.63 being deposited into 1st Medical’s corporate account. In order to

  withdraw the money out of 1st Medicals’ account, Mr. Hernandez would write checks, draw on the

  account, to several individuals. He would provide the checks to these individuals. The individual

  would then cash the check. The individual would then give the money, from cashing the check, to

  Mr. Hernandez. Mr. Hernandez would then pay the individual a fraction of the amount of the check.

  Mr. Moraleda’s role was of just such a “check casher.”

                                             CONCLUSION

         Mr. Moraleda respectfully requests that this Honorable Court apply a two level reduction,

  to his offense level calculation, for his minor role in this crime.



                                                                   Respectfully submitted,

                                                                   KATHLEEN M. WILLIAMS
                                                                   FEDERAL PUBLIC DEFENDER

                                                                   By: s/ Michael Spivack
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         1
             A copy of the indictment is attached as an Exhibit.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 28, 2007, undersigned electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF and has served same via U.S. Mail to those

  counsel(s) who are not authorized to receive electronically Notice of Electronic Filing.


                                               s/ Michael Spivack
                                               Michael Spivack




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